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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

MONSANTO COMPANY,                               )
                                                )
         Plaintiff(s),                          )
                                                )
v.                                              )     No. 4:17CV02525 CDP
                                                )
BOERSEN FARMS, INC.,                            )
                                                )
         Defendant(s).                          )

                               CLERK’S ENTRY OF DEFAULT

        This matter is before the Clerk of Court on Plaintiff’s Motion for Entry of Clerk's Default

against Defendant Boersen Farms, Inc. [ECF No. 11] pursuant to Fed.R.Civ.P. 55(a). The

record reflects service of summons and the complaint upon said Defendant on November 16,

2017. Plaintiff also notes that the Amended Complaint was provided to Defendant by U.S. Mail

and Federal Express Delivery on December 28, 2017, pursuant to Fed.R.Civ.P. 5(b)(2).

Defendant has failed to file an answer or other responsive pleading within the time required by

Fed.R.Civ.P. 12.

        Accordingly,

        IT IS HEREBY ORDERED that Plaintiff’s Motion for Entry of Clerk's Default against

Defendant Boersen Farms, Inc. [ECF No. 11] is GRANTED, and the default of said defendant is

hereby entered.

        Dated this 24th day of January, 2018.


                                                      /s/ Lori Miller Young
                                                      Lori Miller Young
                                                      Chief Deputy Clerk
